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    7                        UNITED STATES DISTRICT COURT
    8                      CENTRAL DISTRICT OF CALIFORNIA
    9
   10 CYNTHIA BRIONES and MAURICE               Case No. 5:17-cv-00590-DMG-JPR
      BRIONES, in each case individually
   11 and as a successor in interest to Kyle    SECOND AMENDED
   12 Briones, deceased,                        COMPLAINT FOR DAMAGES
                                                  1. Unreasonable Search and
   13               Plaintiffs,                      Seizure—Detention and Arrest (42
   14                                                U.S.C. § 1983)
             vs.                                  2. Unreasonable Search and
   15                                                Seizure—Excessive Force (42
      CITY OF ONTARIO; STAFFORD                      U.S.C. § 1983)
   16 CROSS, MIKE GONZALEZ,
                                                  3. Unreasonable Search and
   17 MICHAEL MORA, DARRYL                           Seizure—Denial of Medical Care
      BROWN, KYLE MORGAN and DOES
   18 6-10, inclusive,                               (42 U.S.C. § 1983)
                                                  4. Due Process—Interference with
   19                                                Familial Relationship (42 U.S.C. §
                   Defendants.
   20                                                1983)
                                                  5. Municipal Liability – Ratification
   21                                                (42 U.S.C. § 1983)
   22                                             6. Municipal Liability – Inadequate
                                                     Training (42 U.S.C. § 1983)
   23                                             7. Municipal Liability –
   24                                                Unconstitutional Custom, Practice,
                                                     or Policy (42 U.S.C. § 1983)
   25                                             8. False Arrest/False Imprisonment
                                                  9. Battery (wrongful death)
   26
                                                  10.Negligence (wrongful death)
   27                                             11.Violation of Cal. Civil Code 52.1
                                                DEMAND FOR JURY TRIAL
   28

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    1                SECOND AMENDED COMPLAINT FOR DAMAGES
    2         COME NOW, Plaintiffs Cynthia Briones and Maurice Briones, in each case
    3 individually and as a successor in interest to Kyle Briones, deceased, for their
    4 Complaint against Defendants City of Ontario, Stafford Cross, Mike Gonzalez,
    5 Michael Mora, Darryl Brown, Kyle Morgan and DOES 6-10, inclusive, and allege
    6 as follows:
    7                              JURISDICTION AND VENUE
    8         1.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331
    9 and 1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the
   10 United States including 42 U.S.C. § 1983 and the Fourth and Fourteenth
   11 Amendments of the United States Constitution.
   12         2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because
   13 Defendants reside in this district and all incidents, events, and occurrences giving
   14 rise to this action occurred in this district.
   15
   16                                     INTRODUCTION
   17         3.     This civil rights and state tort action seeks compensatory and punitive
   18 damages from Defendants for violating various rights under the United States
   19 Constitution in connection with the fatal officer-involved death of Plaintiffs’ son,
   20 Kyle Briones (“DECEDENT”), on October 5, 2016.
   21
   22                                          PARTIES
   23         4.     At all relevant times, Decedent Kyle Briones was an individual residing
   24 in the City of Ontario, California.
   25         5.     Plaintiff CYNTHIA BRIONES is an individual residing in the City of
   26 Ontario, California, and is the natural mother of DECEDENT. CYNTHIA
   27 BRIONES sues both in her individual capacity as the mother of DECEDENT and in
   28 a representative capacity as a successor-in-interest to DECEDENT pursuant to

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    1 California Code of Civil Procedure § 377.60. CYNTHIA BRIONES seeks both
    2 survival and wrongful death damages under federal law.
    3        6.     Plaintiff MAURICE BRIONES is an individual residing in the City of
    4 Ontario, California, and is the natural father of DECEDENT. MAURICE BRIONES
    5 sues both in his individual capacity as the father of DECEDENT and in a
    6 representative capacity as a successor-in-interest to DECEDENT pursuant to
    7 California Code of Civil Procedure § 377.60. MAURICE BRIONES seeks both
    8 survival and wrongful death damages under federal law.
    9        7.     At all relevant times, Defendant CITY OF ONTARIO (“CITY”) is and
   10 was a duly organized public entity, form unknown, existing under the laws of the
   11 State of California. CITY is a chartered subdivision of the State of California with
   12 the capacity to be sued. CITY is responsible for the actions, omissions, policies,
   13 procedures, practices, and customs of its various agents and agencies, including the
   14 City of Ontario Police Department and its agents and employees. At all relevant
   15 times, Defendant CITY was responsible for assuring that the actions, omissions,
   16 policies, procedures, practices, and customs of the City of Ontario Police
   17 Department and its employees and agents complied with the laws of the United
   18 States and of the State of California. At all relevant times, CITY was the employer
   19 of Defendants DOES 6-10.
   20        8.     Defendants Stafford Cross, Mike Gonzalez, Michael Mora, Darryl
   21 Brown, and Kyle Morgan (“the OFFICER DEFENDANTS”) are police officers
   22 and/or sergeants working for the City of Ontario Police Department. The officer
   23 defendants were acting under color of law within the course and scope of their
   24 duties as officers for the City of Ontario Police Department. At all relevant times,
   25 the officer defendants were acting with the complete authority and ratification of
   26 their principal, Defendant CITY.
   27        9.     Defendants DOES 6-8 are supervisory officers for the City of Ontario
   28 Police Department who were acting under color of law within the course and scope

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    1 of their duties as police officers for the City of Ontario Police Department. DOES
    2 6-8 were acting with the complete authority and ratification of their principal,
    3 Defendant CITY.
    4        10.    Defendants DOES 9-10 are managerial, supervisorial, and
    5 policymaking employees of the City of Ontario Police Department, who were acting
    6 under color of law within the course and scope of their duties as managerial,
    7 supervisorial, and policymaking employees for the City of Ontario Police
    8 Department. DOES 9-10 were acting with the complete authority and ratification of
    9 their principal, Defendant CITY.
   10        11.    On information and belief, DOES 6-10 were residents of the County of
   11 San Bernardino, California.
   12        12.    In doing the acts and failing and omitting to act as hereinafter
   13 described, the officer defendants were acting on the implied and actual permission
   14 and consent of Defendants DOES 6-10.
   15        13.    In doing the acts and failing and omitting to act as hereinafter
   16 described, Defendants DOES 6-10 were acting on the implied and actual permission
   17 and consent of the CITY.
   18        14.    The true names and capacities, whether individual, corporate,
   19 association or otherwise of Defendants DOES 6-10, inclusive, are unknown to
   20 Plaintiffs, who otherwise sue these Defendants by such fictitious names. Plaintiffs
   21 will seek leave to amend this complaint to show the true names and capacity of
   22 these Defendants when they have been ascertained. Each of the fictitiously-named
   23 Defendants is responsible in some manner for the conduct or liabilities alleged
   24 herein.
   25        15.    DOES 6-10 are sued in their individual capacity.
   26        16.    At all times mentioned herein, each and every defendant was the agent
   27 of each and every other defendant and had the legal duty to oversee and supervise
   28 the hiring, conduct, and employment of each and every defendant.

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    1        17.    All of the acts complained of herein by Plaintiffs against Defendants
    2 were done and performed by said Defendants by and through their authorized
    3 agents, servants, and/or employees, all of whom at all relevant times herein were
    4 acting within the course, purpose, and scope of said agency, service, and/or
    5 employment capacity. Moreover, Defendants and their agents ratified (or will
    6 ratify) all of the acts complained of herein.
    7        18.    On December 28, 2016, Plaintiffs filed a comprehensive and timely
    8 claim for damages with the City of Ontario pursuant to applicable sections of the
    9 California Government Code.
   10        19.    On February 10, 2017, the City of Ontario denied Plaintiffs’ claims.
   11
   12                FACTS COMMON TO ALL CLAIMS FOR RELIEF
   13        20.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   14 through 19 of this Complaint with the same force and effect as if fully set forth
   15 herein.
   16        21.    On October 5, 2016, at approximately 1:15 a.m., DECEDENT was
   17 involved in a single-vehicle collision near the intersection of Archibald Avenue and
   18 Ontario Ranch Road, in the City of Ontario, California. Plaintiffs believe the
   19 collision was occurred when a tire on DECEDENT’s vehicle blew out. A civilian
   20 motorist observed DECEDENT’s disabled vehicle and called 9-1-1. The OFFICER
   21 DEFENDANTS responded to the call and DECEDENT exited the vehicle with
   22 assistance. Rather than addressing DECEDENT’s injuries, the OFFICER
   23 DEFENDANTS forced DECEDENT into a prone position on the ground and
   24 restrained DECEDENT. Additional OFFICER DEFENDANTS arrived on scene
   25 and assisted with the efforts to restrain and handcuff DECEDENT. In the process,
   26 the OFFICER DEFENDANTS placed pressure on DECEDENT’s back and stood
   27 and knelt on the backs of DECEDENT’s legs. The OFFICER DEFENDANTS also
   28 deployed a Taser to DECEDENT’s back. The OFFICER DEFENDANTS cuffed

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    1 DECEDENT’s wrists and hobbled his ankles with a TARP restraint while
    2 DECEDENT was face and chest down. The OFFICER DEFENDANTS held
    3 DECEDENT face and chest down, restrained in a prone position, for an extended
    4 period of time.
    5         22.   After the OFFICER DEFENDANTS cuffed DECEDENT’s wrists and
    6 hobbled his legs, and while DECEDENT was still prone, DECEDENT became
    7 quiet, still, and unresponsive. Paramedics arrived, administered CPR, and then
    8 transported DECEDENT to Kaiser Hospital, where DECEDENT was pronounced
    9 dead.
   10         23.   After single-vehicle collision, in which Plaintiffs believe
   11 DECEDENT’s vehicle struck the street sign as a result of the tire blowing out,
   12 DECEDENT was groaning from pain and in obvious and critical need of emergency
   13 medical care and treatment. However, rather than treating DECEDENT
   14 immediately or calling for medical personnel to treat his injuries that resulted from
   15 the vehicle collision, the OFFICER DEFENDANTS forced DECEDENT into a
   16 prone position. The OFFICER DEFENDANTS did not timely summon medical
   17 care, nor did the OFFICER DEFENDANTS permit medical personnel to treat
   18 DECEDENT without delay after the paramedics arrived on scene. The delay of
   19 medical care to DECEDENT caused DECEDENT extreme physical and emotional
   20 pain and suffering, and was a contributing cause of DECEDENT’s death.
   21         24.   The use of force against DECEDENT was excessive and objectively
   22 unreasonable under the circumstances, especially because DECEDENT did not pose
   23 an immediate threat of death or serious bodily injury to anyone at all relevant times,
   24 including the OFFICER DEFENDANTS.
   25         25.   Plaintiff CYNTHIA BRIONES is DECEDENT’s successor-in-interest
   26 as defined in Section 377.11 and succeeds to DECEDENT’s interest in this action as
   27 the natural mother of DECEDENT.
   28

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    1         26.   Plaintiff MAURICE BRIONES is DECEDENT’s successor-in-interest
    2 as defined in Section 377.11 and succeeds to DECEDENT’s interest in this action as
    3 the natural father of DECEDENT.
    4
    5                             FIRST CLAIM FOR RELIEF
    6    Unreasonable Search and Seizure—Detention and Arrest (42 U.S.C. § 1983)
    7                        (Against the OFFICER DEFENDANTS)
    8         27.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
    9 through 26 of this Complaint with the same force and effect as if fully set forth
   10 herein.
   11         28.   The OFFICER DEFENDANTS detained DECEDENT without
   12 reasonable suspicion and arrested him without probable cause.
   13         29.   The OFFICER DEFENDANTS violated DECEDENT’s right to be
   14 secure in his person against unreasonable searches and seizures as guaranteed to
   15 DECEDENT under the Fourth Amendment to the United States Constitution and
   16 applied to state actors by the Fourteenth Amendment.
   17         30.   The conduct of the OFFICER DEFENDANTS was willful, wanton,
   18 malicious, and done with reckless disregard for the rights and safety of
   19 DECEDENT, and therefore warrants the imposition of exemplary and punitive
   20 damages as to the OFFICER DEFENDANTS.
   21         31.   This unreasonable detention, arrest, and restraint caused Plaintiffs’ and
   22 DECEDENT’s injuries. As a result of their misconduct, Defendants the OFFICER
   23 DEFENDANTS are liable for DECEDENT’s injuries, either because they were
   24 integral participants in the wrongful detention and arrest, or because they failed to
   25 intervene to prevent these violations.
   26         32.   Plaintiffs bring this claim as successors-in-interest to DECEDENT, and
   27 seek both survival and wrongful death damages for the violation of DECEDENT’s
   28

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    1 rights. Plaintiffs also seek funeral and burial expenses and attorney’s fees under this
    2 claim.
    3
    4                            SECOND CLAIM FOR RELIEF
    5       Unreasonable Search and Seizure—Excessive Force (42 U.S.C. § 1983)
    6                         (Against the OFFICER DEFENDANTS)
    7          33.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
    8 through 32 of this Complaint with the same force and effect as if fully set forth
    9 herein.
   10          34.   The OFFICER DEFENDANTS forced DECEDENT into a prone
   11 position on the ground and attempted to handcuff DECEDENT. Additional
   12 OFFICER DEFENDANTS arrived on scene and assisted with the efforts to
   13 handcuff DECEDENT. In the process, the OFFICER DEFENDANTS placed
   14 pressure on DECEDENT’s back and stood and knelt on the back of DECEDENT’s
   15 thighs. The OFFICER DEFENDANTS proceeded to use Tasers on DECEDENT.
   16 After using Tasers on DECEDENT, the OFFICER DEFENDANTS cuffed
   17 DECEDENT’s wrists and applied a hobble to his ankles. DECEDENT was held
   18 down in a prone position for an extended period of time. This, along with other
   19 undiscovered uses of force against DECEDENT, constitutes unreasonable and
   20 excessive force.
   21          35.   The OFFICER DEFENDANTS’ unjustified use of force, in particular,
   22 the unreasonable restraint, deprived DECEDENT of his right to be secure in his
   23 person against unreasonable searches and seizures as guaranteed to DECEDENT
   24 under the Fourth Amendment to the United States Constitution and applied to state
   25 actors by the Fourteenth Amendment.
   26          36.   As a result of the foregoing, DECEDENT suffered great physical pain
   27 and emotional distress up to the time of his death, loss of enjoyment of life, loss of
   28 life, and loss of earning capacity.

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    1          37.   The conduct of the OFFICER DEFENDANTS was willful, wanton,
    2 malicious, and done with reckless disregard for the rights and safety of
    3 DECEDENT, and therefore warrants the imposition of exemplary and punitive
    4 damages as to the OFFICER DEFENDANTS.
    5          38.   The use of force was excessive and unreasonable, especially because
    6 DECEDENT did not pose an immediate threat of death or serious bodily injury to
    7 anyone, including the OFFICER DEFENDANTS.
    8          39.   Each of the OFFICER DEFENDANTS integrally participated or failed
    9 to intervene in the use of force.
   10          40.   As a result of their misconduct, the OFFICER DEFENDANTS are
   11 liable for DECEDENT’s injuries, either because they were integral participants in
   12 the use of force, or because they failed to intervene to prevent it.
   13          41.   Plaintiffs bring this claim as successors-in-interest to DECEDENT, and
   14 seek both survival and wrongful death damages for the violation of DECEDENT’s
   15 rights. Plaintiffs also seek funeral and burial expenses and attorney’s fees under this
   16 claim.
   17
   18                             THIRD CLAIM FOR RELIEF
   19   Unreasonable Search and Seizure—Denial of Medical Care (42 U.S.C. § 1983)
   20                         (Against the OFFICER DEFENDANTS)
   21          42.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   22 through 41 of this Complaint with the same force and effect as if fully set forth
   23 herein.
   24          43.   After DECEDENT’s vehicle struck the street sign as a result of the tire
   25 blowing out, DECEDENT was bleeding, groaning from pain, and in obvious and
   26 critical need of emergency medical care and treatment. However, rather than
   27 treating DECEDENT immediately or calling for medical personnel to treat his
   28 injuries that resulted from the vehicle collision, the OFFICER DEFENDANTS

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    1 forced DECEDENT into a prone position. After DECEDENT lost consciousness
    2 following the restraint wherein the OFFICER DEFENDANTS placed pressure on
    3 DECEDENT’s backside, the OFFICER DEFENDANTS did not timely summon
    4 medical care or permit medical personnel to treat DECEDENT. The delay of
    5 medical care to DECEDENT caused DECEDENT extreme physical and emotional
    6 pain and suffering, and was a contributing cause of DECEDENT’s death.
    7         44.   The denial of medical care by the OFFICER DEFENDANTS deprived
    8 DECEDENT of his right to be secure in his person against unreasonable searches
    9 and seizures as guaranteed to DECEDENT under the Fourth Amendment to the
   10 United States Constitution and applied to state actors by the Fourteenth Amendment.
   11         45.   As a result of the foregoing, DECEDENT suffered great physical pain
   12 and emotional distress up to the time of his death, and also suffered loss of
   13 enjoyment of life, loss of life, and loss of earning capacity.
   14         46.   The OFFICER DEFENDANTS knew that failure to provide timely
   15 medical treatment to DECEDENT could result in further significant injury or the
   16 unnecessary and wanton infliction of pain, but disregarded that serious medical
   17 need, causing DECEDENT great bodily harm and death.
   18         47.   The conduct of the OFFICER DEFENDANTS was willful, wanton,
   19 malicious, and done with reckless disregard for the rights and safety of DECEDENT
   20 and therefore warrants the imposition of exemplary and punitive damages as to the
   21 OFFICER DEFENDANTS.
   22         48.   As a result of their misconduct, the OFFICER DEFENDANTS are
   23 liable for DECEDENT’s injuries, either because they were integral participants in
   24 the denial of medical care, or because they failed to intervene to prevent these
   25 violations.
   26         49.   Plaintiffs bring this claim as successors-in-interest to DECEDENT, and
   27 seek both survival and wrongful death damages for the violation of DECEDENT’s
   28

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    1 rights. Plaintiffs also seek funeral and burial expenses and attorney’s fees under this
    2 claim.
    3
    4                           FOURTH CLAIM FOR RELIEF
    5      Due Process—Interference with Familial Relationship (42 U.S.C. § 1983)
    6                         (Against the OFFICER DEFENDANTS)
    7          50.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
    8 through 49 of this Complaint with the same force and effect as if fully set forth
    9 herein.
   10          51.   DECEDENT had a cognizable interest under the Due Process Clause of
   11 the Fourteenth Amendment of the United States Constitution to be free from state
   12 actions that deprive him of life, liberty, or property in such a manner as to shock the
   13 conscience, including but not limited to unwarranted state interference in
   14 DECEDENT’s familial relationships.
   15          52.   Plaintiffs had a cognizable interest under the Due Process Clause of the
   16 Fourteenth Amendment of the United States Constitution to be free from state
   17 actions that deprive them of life, liberty, or property in such a manner as to shock
   18 the conscience, including but not limited to unwarranted state interference in
   19 Plaintiffs’ familial relationship with their son, DECEDENT.
   20          53.   The aforementioned actions of the OFFICER DEFENDANTS, along
   21 with other undiscovered conduct, shock the conscience, in that they acted with
   22 deliberate indifference to the constitutional rights of DECEDENT and Plaintiffs, and
   23 with purpose to harm unrelated to any legitimate law enforcement objective.
   24          54.   The OFFICER DEFENDANTS thus violated the substantive due
   25 process rights of Plaintiffs to be free from unwarranted interference with their
   26 familial relationship with DECEDENT, their son.
   27          55.   As a direct and proximate cause of the acts of the OFFICER
   28 DEFENDANTS, Plaintiffs have suffered emotional distress, mental anguish, and

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    1 pain. Plaintiffs have also been deprived of the life-long love, companionship,
    2 comfort, support, guidance society, care, and sustenance of DECEDENT, and will
    3 continue to be so deprived for the remainder of their natural lives.
    4         56.   The conduct of the OFFICER DEFENDANTS was willful, wanton,
    5 malicious, and done with reckless disregard for the rights and safety of DECEDENT
    6 and Plaintiffs and therefore warrants the imposition of exemplary and punitive
    7 damages as to the OFFICER DEFENDANTS, either because they were integral
    8 participants or because they failed to intervene to prevent these violations.
    9         57.   Plaintiffs seek wrongful death damages under this claim in their
   10 individual capacities and also seek survival damages for the violation of
   11 DECEDENT’s due process right. Plaintiffs also seek funeral and burial expenses
   12 and attorney’s fees under this claim.
   13
   14                             FIFTH CLAIM FOR RELIEF
   15                 Municipal Liability – Ratification (42 U.S.C. § 1983)
   16                       (Against Defendants CITY and DOES 6-10)
   17         58.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   18 through 57 of this Complaint with the same force and effect as if fully set forth
   19 herein.
   20         59.   The OFFICER DEFENDANTS acted under color of law.
   21         60.   The acts of the OFFICER DEFENDANTS deprived DECEDENT and
   22 Plaintiffs of their particular rights under the United States Constitution.
   23         61.   Upon information and belief, a final policymaker, acting under color of
   24 law, who had final policymaking authority concerning the acts of the OFFICER
   25 DEFENDANTS, ratified (or will ratify) the acts of the OFFICER DEFENDANTS
   26 and the bases for them. Upon information and belief, the final policymaker knew of
   27 and specifically approved of (or will specifically approve of) the OFFICER
   28 DEFENDANTS’ acts.

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    1         62.   Upon information and belief, a final policymaker has determined (or
    2 will determine) that the acts of the OFFICER DEFENDANTS were “within policy.”
    3         63.   On information and belief, Defendants THE OFFICER
    4 DEFENDANTS were not disciplined, reprimanded, retrained, suspended, or
    5 otherwise penalized in connection with DECEDENT’s death.
    6         64.   By reason of the aforementioned acts and omissions, Plaintiffs have
    7 suffered loss of the love, companionship, affection, comfort, care, society, training,
    8 guidance, and past and future support of DECEDENT. The aforementioned acts and
    9 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
   10 and death.
   11         65.   Accordingly, Defendants CITY and DOES 6-10 each are liable to
   12 Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
   13         66.   Plaintiffs bring this claim as successors in interest to DECEDENT, and
   14 seek both survival and wrongful death damages under this claim. Plaintiffs also seek
   15 attorney’s fees under this claim.
   16
   17                                SIXTH CLAIM FOR RELIEF
   18                  Municipal Liability – Failure to Train (42 U.S.C. § 1983)
   19                          (Against Defendants CITY and DOES 6-10)
   20         67.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   21 through 66 of this Complaint with the same force and effect as if fully set forth
   22 herein.
   23         68.   The OFFICER DEFENDANTS acted under color of law.
   24         69.   The acts of the OFFICER DEFENDANTS deprived DECEDENT and
   25 Plaintiffs of their particular rights under the United States Constitution.
   26         70.   The training policies of Defendant CITY were not adequate to train its
   27 police officers to handle the usual and recurring situations with which they must
   28 deal, including with regard to the use of force and positional and restraint asphyxia.

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    1        71.    Defendant CITY was deliberately indifferent to the obvious
    2 consequences of its failure to train its police officers adequately, including with
    3 regard to positional and restraint asphyxia.
    4        72.    The failure of Defendant CITY to provide adequate training caused the
    5 deprivation of Plaintiffs’ rights by the OFFICER DEFENDANTS; that is, the
    6 defendants’ failure to train is so closely related to the deprivation of DECEDENT
    7 and Plaintiffs’ rights as to be the moving force that caused the ultimate injury.
    8        73.    By reason of the aforementioned acts and omissions, Plaintiffs have
    9 suffered loss of the love, companionship, affection, comfort, care, society, training,
   10 guidance, and past and future support of DECEDENT. The aforementioned acts and
   11 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
   12 and death.
   13        74.    Accordingly, Defendants CITY and DOES 6-10 each are liable to
   14 Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
   15        75.    Plaintiffs bring this claim as successors in interest to DECEDENT, and
   16 seek both survival and wrongful death damages under this claim. Plaintiffs also
   17 seek attorney’s fees under this claim.
   18
   19                              SEVENTH CLAIM FOR RELIEF
   20    Municipal Liability – Unconstitutional Custom or Policy (42 U.S.C. § 1983)
   21                      (Against Defendants CITY and DOES 6-10)
   22        76.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   23 through 75 of this Complaint with the same force and effect as if fully set forth
   24 herein.
   25        77.    The OFFICER DEFENDANTS acted under color of law.
   26        78.    The OFFICER DEFENDANTS acted pursuant either to an expressly
   27 adopted official policy or a longstanding practice or custom of Defendant CITY.
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    1        79.   On information and belief, the OFFICER DEFENDANTS were not
    2 disciplined, reprimanded, retrained, suspended, or otherwise penalized in connection
    3 with DECEDENT’s death.
    4        80.   Defendants CITY and the OFFICER DEFENDANTS, together with
    5 other CITY policymakers and supervisors, maintained, inter alia, the following
    6 unconstitutional customs, practices, and policies:
    7              (a)     Using excessive force, including excessive deadly force and
    8                      improperly restraining subjects that are being taken into custody;
    9              (b)     Providing inadequate training regarding the use of force,
   10                      including with regard to positional and restraint asphyxia;
   11              (c)     Employing and retaining as police officers individuals such as
   12                      the OFFICER DEFENDANTS, whom Defendant CITY at all
   13                      times material herein knew or reasonably should have known
   14                      had dangerous propensities for abusing their authority and for
   15                      using excessive force;
   16              (d)     Inadequately supervising, training (including with regard to
   17                      positional asphyxia and restraint asphyxia), controlling,
   18                      assigning, and disciplining CITY police officers, and other
   19                      personnel, including the OFFICER DEFENDANTS, whom
   20                      Defendant CITY knew or in the exercise of reasonable care
   21                      should have known had the aforementioned propensities and
   22                      character traits;
   23               (e)    Maintaining grossly inadequate procedures for reporting,
   24                      supervising, investigating, reviewing, disciplining and
   25                      controlling misconduct by CITY police officers;
   26                (f)   Failing to adequately discipline CITY police officers for the
   27                      above-referenced categories of misconduct, including “slaps on
   28                      the wrist,” discipline that is so slight as to be out of proportion to

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    1                      the magnitude of the misconduct, and other inadequate discipline
    2                      that is tantamount to encouraging misconduct;
    3                (g)   Announcing that unjustified uses of force are “within policy,”
    4                      including uses of force that were later determined in court to be
    5                      unconstitutional;
    6                (h)   Even where uses of force are determined in court to be
    7                      unconstitutional, refusing to discipline, terminate, or retrain the
    8                      officers involved;
    9                (i)   Encouraging, accommodating, or facilitating a “blue code of
   10                      silence,” “blue shield,” “blue wall,” “blue curtain,” “blue veil,”
   11                      or simply “code of silence,” pursuant to which police officers do
   12                      not report other officers’ errors, misconduct, or crimes. Pursuant
   13                      to this code of silence, if questioned about an incident of
   14                      misconduct involving another officer, while following the code,
   15                      the officer being questioned will claim ignorance of the other
   16                      officers’ wrongdoing; and
   17                (j)   Maintaining a policy of inaction and an attitude of indifference
   18                      towards soaring numbers of police misconduct with regards to
   19                      the use of force, including by failing to discipline, retrain,
   20                      investigate, terminate, and recommend officers for criminal
   21                      prosecution who participate in the use of force against unarmed
   22                      people.
   23         81.    The aforementioned unconstitutional customs, practices, and policies,
   24 in addition to the ratification of the deficient customs, practices, and policies, are
   25 evidenced by the number of prior cases involving the use of deadly force against an
   26 unarmed person by a police officer working for the CITY.
   27         82.    By reason of the aforementioned acts and omissions, Plaintiffs have
   28 suffered loss of the love, companionship, affection, comfort, care, society, training,

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    1 guidance, and past and future support of DECEDENT. The aforementioned acts and
    2 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
    3 and death.
    4         83.   Defendants CITY and DOES 6-10, together with various other
    5 officials, whether named or unnamed, had either actual or constructive knowledge
    6 of the deficient policies, practices and customs alleged in the paragraphs above.
    7 Despite having knowledge as stated above, these defendants condoned, tolerated and
    8 through actions and inactions thereby ratified such policies. Said defendants also
    9 acted with deliberate indifference to the foreseeable effects and consequences of
   10 these policies with respect to the constitutional rights of DECEDENT, Plaintiffs,
   11 and other individuals similarly situated.
   12         84.   By perpetrating, sanctioning, tolerating and ratifying the outrageous
   13 conduct and other wrongful acts, DOES 6-10 acted with intentional, reckless, and
   14 callous disregard for the life of DECEDENT and for DECEDENT’s and Plaintiffs’
   15 constitutional rights. Furthermore, the policies, practices, and customs implemented,
   16 maintained, and still tolerated by Defendants CITY and DOES 6-10 were
   17 affirmatively linked to and were a significantly influential force behind the injuries
   18 of DECEDENT and Plaintiffs.
   19         85.   Accordingly, Defendants CITY and DOES 6-10 each are liable to
   20 Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
   21         86.   Plaintiffs bring this claim individually and as successors in interest to
   22 DECEDENT, and seek both survival and wrongful death damages under this claim.
   23 Plaintiffs also seek attorney’s fees under this claim.
   24
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    1                            EIGHTH CLAIM FOR RELIEF
    2                            False Arrest/False Imprisonment
    3               (Against Defendants CITY and the OFFICER DEFENDANTS)
    4         87.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
    5 through 86 of this Complaint with the same force and effect as if fully set forth
    6 herein.
    7         88.    The OFFICER DEFENDANTS, while working as police officers for
    8 the City of Ontario Police Department and acting within the course and scope of
    9 their duties, intentionally deprived DECEDENT of his freedom of movement by use
   10 of force, threats of force, menace, fraud, deceit, and unreasonable duress. The
   11 OFFICER DEFENDANTS detained DECEDENT without reasonable suspicion and
   12 arrested him without probable cause for an appreciable amount of time.
   13         89.    DECEDENT did not knowingly or voluntarily consent.
   14         90.    The conduct of the OFFICER DEFENDANTS was a substantial factor
   15 in causing the harm to DECEDENT.
   16         91.    Defendant CITY is vicariously liable for the wrongful acts of
   17 Defendants THE OFFICER DEFENDANTS pursuant to section 815.2(a) of the
   18 California Government Code, which provides that a public entity is liable for the
   19 injuries caused by its employees within the scope of the employment if the
   20 employee’s act would subject him or her to liability.
   21         92.    Each of the OFFICER DEFENDANTS integrally participated or failed
   22 to intervene in the detention and arrest.
   23         93.    As a result of their misconduct, the OFFICER DEFENDANTS are
   24 liable for DECEDENT’s injuries, either because they were integral participants in
   25 the detention and arrest, or because they failed to intervene to prevent it.
   26         94.    The conduct of the OFFICER DEFENDANTS was malicious, wanton,
   27 oppressive, and accomplished with a conscious disregard for the rights of
   28 DECEDENT, entitling Plaintiffs to an award of exemplary and punitive damages.

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    1        95.    As a result of their misconduct, the OFFICER DEFENDANTS are
    2 liable for DECEDENT’s injuries, either because they were integral participants in
    3 the wrongful detention and arrest, or because they failed to intervene to prevent
    4 these violations.
    5        96.    Plaintiffs bring this claim individually and as successors in interest to
    6 DECEDENT, and seek both survival and wrongful death damages under this claim.
    7 Plaintiffs also seek funeral and burial expenses and attorney’s fees under this claim.
    8
    9                            NINTH CLAIM FOR RELIEF
   10                                         Battery
   11                                    (Wrongful Death)
   12              (Against Defendants CITY and the OFFICER DEFENDANTS)
   13        97.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   14 through 96 of this Complaint with the same force and effect as if fully set forth
   15 herein.
   16        98.    The OFFICER DEFENDANTS, while working as police officers
   17 and/or sergeants and/or corporals for the City of Ontario Police Department, and
   18 acting within the course and scope of their duties, pulled DECEDENT from his
   19 vehicle and forcibly restrained him, thereby using unreasonable and excessive force
   20 against him. As a result of the actions of the OFFICER DEFENDANTS,
   21 DECEDENT suffered severe pain and suffering and ultimately died from his
   22 injuries. The OFFICER DEFENDANTS had no legal justification for using force
   23 against DECEDENT, and their use of force while carrying out their duties as police
   24 officers for the City of Ontario was an unreasonable and non-privileged use of force.
   25        99.    The OFFICER DEFENDANTS integrally participated or failed to
   26 intervene in the use of force.
   27        100. As a result of their misconduct, each of the OFFICER DEFENDANTS
   28 are liable for DECEDENT’s injuries, either because they were integral participants

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    1 in the wrongful detention and arrest, or because they failed to intervene to prevent
    2 these violations.
    3         101. As a direct and proximate result of the conduct of the OFFICER
    4 DEFENDANTS as alleged above, DECEDENT sustained injuries and died from his
    5 injuries and also lost his earning capacity. As a direct and proximate result of the
    6 conduct of the OFFICER DEFENDANTS as alleged above, DECEDENT suffered
    7 survival damages.
    8         102. The CITY is vicariously liable for the wrongful acts of the OFFICER
    9 DEFENDANTS pursuant to section 815.2(a) of the California Government Code,
   10 which provides that a public entity is liable for the injuries caused by its employees
   11 within the scope of the employment if the employee’s act would subject him or her
   12 to liability.
   13         103. The conduct of the OFFICER DEFENDANTS was malicious, wanton,
   14 oppressive, and accomplished with a conscious disregard for the rights of Plaintiffs
   15 and DECEDENT, entitling Plaintiffs, individually and as successors-in-interest to
   16 DECEDENT, to an award of exemplary and punitive damages as to the OFFICER
   17 DEFENDANTS.
   18         104. Plaintiffs bring this claim individually and as successors in interest to
   19 DECEDENT, and seek both survival and wrongful death damages under this claim.
   20 Plaintiffs also seek attorney’s fees under this claim.
   21
   22                            TENTH CLAIM FOR RELIEF
   23                                        Negligence
   24                                    (Wrongful Death)
   25                                 (Against all Defendants)
   26         105. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   27 through 104 of this Complaint with the same force and effect as if fully set forth
   28 herein.

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    1         106. Police Officers, including the OFFICER DEFENDANTS, have a duty
    2 to use reasonable care to prevent harm or injury to others. This duty includes using
    3 appropriate tactics, giving appropriate commands, giving warnings, and not using
    4 any force unless necessary, using less than lethal options, and only using deadly
    5 force as a last resort.
    6         107.   The OFFICER DEFENDANTS breached this duty of care. The
    7 actions and inactions of the OFFICER DEFENDANTS were negligent and reckless,
    8 including but not limited to:
    9                (a)   the failure to properly and adequately assess the need to detain,
   10                      arrest, and use force or deadly force against DECEDENT;
   11                (b)   the negligent tactics and handling of the situation with
   12                      DECEDENT, including with regard to their positioning and
   13                      restraint of DECEDENT;
   14                (c)   the negligent detention, arrest, and use of force against
   15                      DECEDENT;
   16                (d)   the failure to provide prompt medical care to DECEDENT;
   17                (e)   the failure to properly train and supervise employees, both
   18                      professional and non-professional, including THE OFFICER
   19                      DEFENDANTS, including with regard to positional asphyxia
   20                      and restraint asphyxia;
   21                (f)   the failure to ensure that adequate numbers of employees with
   22                      appropriate education and training were available to meet the
   23                      needs of and protect the rights of DECEDENT;
   24                (g)   the negligent handling of evidence and witnesses; and
   25                (h)   the negligent communication of information during the incident.
   26         108. As a direct and proximate result of Defendants’ conduct as alleged
   27 above, and other undiscovered negligent conduct, DECEDENT was caused to suffer
   28 severe pain and suffering and ultimately died. Also as a direct and proximate result

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    1 of Defendants’ conduct as alleged above, Plaintiffs suffered emotional distress and
    2 mental anguish. Plaintiffs also have been deprived of the life-long love,
    3 companionship, comfort, support, society, care and sustenance of DECEDENT, and
    4 will continue to be so deprived for the remainder of their natural lives.
    5         109. The CITY is vicariously liable for the wrongful acts of DOES 6-10 and
    6 the OFFICER DEFENDANTS pursuant to section 815.2(a) of the California
    7 Government Code, which provides that a public entity is liable for the injuries
    8 caused by its employees within the scope of the employment if the employee’s act
    9 would subject him or her to liability.
   10         110. Plaintiffs seek wrongful death damages under this claim in their
   11 individual capacity. Plaintiffs also seek survival damages as successors-in-interest to
   12 DECEDENT. Plaintiffs also seek attorney’s fees under this claim.
   13
   14                         ELEVENTH CLAIM FOR RELIEF
   15                             (Violation of Cal. Civil Code § 52.1)
   16                                    (Against all Defendants)
   17         111. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   18 through 110 of this Complaint with the same force and effect as if fully set forth
   19 herein.
   20         112. California Civil Code, Section 52.1 (the Bane Act), prohibits any
   21 person from using violent acts or threatening to commit violent acts in retaliation
   22 against another person for exercising that person’s constitutional rights.
   23         113. On information and belief, the OFFICER DEFENDANTS, while
   24 working for the CITY and acting within the course and scope of their duties,
   25 intentionally committed and attempted to commit acts of violence against
   26 DECEDENT, including by pulling him from his vehicle, restraining him without
   27 justification or excuse, placing pressure on his back, integrally participating and
   28

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    1 failing to intervene in the above violence, and denying DECEDENT necessary
    2 medical care.
    3         114. When the OFFICER DEFENDANTS pulled DECEDENT from his
    4 vehicle, restrained him, and placed pressure on DECEDENT’s back, they interfered
    5 with his freedom of speech and his civil rights to be free from unreasonable searches
    6 and seizures, to due process, to equal protection of the laws, to medical care, to be
    7 free from state actions that shock the conscience, and to life, liberty, and property.
    8         115. On information and belief, Defendants intentionally and spitefully
    9 committed the above acts to discourage DECEDENT from exercising his civil
   10 rights, to retaliate against him for invoking such rights, or to prevent him from
   11 exercising such rights, which he was fully entitled to enjoy.
   12         116. On information and belief, DECEDENT reasonably believed and
   13 understood that the violent acts committed by the OFFICER DEFENDANTS were
   14 intended to discourage him from exercising the above civil rights, to retaliate against
   15 him for invoking such rights, or to prevent him from exercising such rights.
   16         117.    Defendants successfully interfered with the above civil rights of
   17 DECEDENT and Plaintiffs.
   18         118. The conduct of the OFFICER DEFENDANTS was a substantial factor
   19 in causing Plaintiffs’ harms, losses, injuries, and damages.
   20         119. The CITY is vicariously liable for the wrongful acts of the OFFICER
   21 DEFENDANTS pursuant to section 815.2(a) of the California Government Code,
   22 which provides that a public entity is liable for the injuries caused by its employees
   23 within the scope of the employment if the employee’s act would subject him or her
   24 to liability.
   25         120. Defendants DOES 6-10 are vicariously liable under California law and
   26 the doctrine of respondeat superior.
   27         121. The conduct of Defendants was malicious, wanton, oppressive, and
   28 accomplished with a conscious disregard for DECEDENT’s and Plaintiffs’ rights,

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    1 justifying an award of exemplary and punitive damages as to the OFFICER
    2 DEFENDANTS.
    3        122. Plaintiffs seek wrongful death damages under this claim in their
    4 individual capacities. Plaintiffs also seek survival damages as successors-in-interest
    5 to DECEDENT. Plaintiffs also seek attorney’s fees under this claim.
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    1                           PRAYER FOR RELIEF
    2        WHEREFORE, Plaintiffs Cynthia Briones and Maurice Briones request entry
    3 of judgment in their favor and against Defendants CITY of Ontario, Stafford Cross,
    4 Mike Gonzalez, Michael Mora, Darryl Brown, Kyle Morgan and DOES 6-10,
    5 inclusive, as follows:
    6              A.     For compensatory damages, including both survival damages and
    7                     wrongful death damages under federal and state law, in the
    8                     amount to be proven at trial;
    9              B.     For funeral and burial expenses, and loss of financial support;
   10              C.     For punitive damages against the individual defendants in an
   11                     amount to be proven at trial;
   12              D.     For interest;
   13              E.     For reasonable attorneys’ fees, including litigation expenses;
   14              F.     For costs of suit; and
   15              G.     For such further other relief as the Court may deem just, proper,
   16                     and appropriate.
   17
   18 DATED: August 28, 2017              LAW OFFICES OF DALE K. GALIPO
                                          GEORGE M. ROSENBERG
   19
   20
                                             By /s/ Dale K. Galipo
   21                                          Dale K. Galipo
                                               Renee V. Masongsong
   22                                          George M. Rosenberg
                                               Attorneys for Plaintiffs
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    1                           DEMAND FOR JURY TRIAL
    2        Plaintiffs hereby demand a trial by jury.
    3
    4 DATED: August 28, 2017               LAW OFFICES OF DALE K. GALIPO
                                           GEORGE M. ROSENBERG
    5

                                            By /s/ Dale K. Galipo
    6
    7                                         Dale K. Galipo
                                              Renee V. Masongsong
    8                                         George M. Rosenberg
                                              Attorneys for Plaintiffs
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